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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 LULAC, et al.,

                 Plaintiffs,

 v.
                                                      Case No.: EP-21-CV-00259-DCG-JES-JVB
 GREG ABBOTT, in his official capacity as                           [Lead Case]
 Governor of Texas, et al.,

                Defendants.


______________________________________________________________________________

                    DECLARATION TO ACCOMPANY
             THE REBUTTAL REPORT OF MATT BARRETO, Ph.D.
______________________________________________________________________________

         Pursuant to 28 U.S.C. §1746, I, Matt A. Barreto, declare that:

         My name is Matt A. Barreto. I am an expert witness designated by Brooks Plaintiffs in the

above referenced case now pending in the United States District Court for the Western District of

Texas.

         My report in rebuttal to Dr. Alford, Exhibit 100, is incorporated herein for all purposes and

include a complete statement of my opinions and conclusions in response to Dr. Alford. The facts

or data that I relied upon to develop my analysis and opinions are produce herewith for all counsel.

         I declare under penalty of perjury that the foregoing is true and correct.



         Signed this the 19th day of January, 2022.




                                                __________________________________________
                                                Matt Barreto


DECLARATION OF MATT BARRETO - Page 1

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                            Dr. Barreto Rebuttal to Dr. Alford

1. Pursuant to 28 U.S.C. section 1746, I, Matt A. Barreto, declare as follows:

2. My name is Matt A. Barreto, and I am currently Professor of Political Science and Chicana/o
   Studies at the University of California, Los Angeles. I submitted a declaration in this matter on
   November 24, 2021. I have recently read the report of Dr. John Alford and now offer this
   rebuttal.

3. In his December 20, 2021 report, Dr. Alford contends that Black and Latino voters in Tarrant
   County are not politically cohesive because his analysis shows that they supported different
   candidates in the 2014 Democratic primary for Senate District 10. He also cites the Democratic
   primaries for Congressional District 33, in which he opines (without providing any analysis or
   data), that Black and Latino voters have different preferences.

4. Regarding the 2014 primary for SD10, Dr. Alford contends that Black and Anglo voters
   supported Libby Wilson while Latino voters supported Mike Martinez. But this illustrates the
   flaw in his analysis and logic overall. If Dr. Alford is correct that we should just extrapolate a
   racial or ethnic group’s voting preferences from a low turnout, single primary electorate, then
   we would conclude that Libby Wilson was the candidate of choice of Anglo voters in SD10. If
   that were so, she would have easily won the general election. But the general election–in which
   voters actually elect their state representative, and in which a larger, broader electorate
   participates–shows that Konni Burton was the clear candidate of choice of Anglo voters. Dr.
   Alford would certainly agree that Burton, not Wilson, was the candidate of choice among
   Anglo voters in SD10, and that how Anglos voted in the primary was not determinative of their
   ultimate vote choice.

5. The 2020 general election for Congressional District 33 likewise illustrates the flaw with over-
   emphasizing Democratic primary election results in Tarrant County. In that election,
   Congressman Veasey, who is Black, faced two Hispanic candidates: Republican Fabian
   Cordova Vasquez and Independent Carlos Quintanilla. Veasey prevailed 66.8% to Vasquez’s
   25.2% to Quintanilla’s 5.1%. Two other candidates–a Libertarian and Independent–received a
   combined 2.9%. The margin was even greater for Congressman Veasey in Tarrant County,
   where he prevailed 70.9% to 23.2% for Vasquez to 3.0% for Quintanilla. Although Mr.
   Quintanilla ran as an Independent in the 2020 general election, he had twice run as
   Congressman Veasey’s primary opponent in the 2018 and 2016 Democratic primaries–two of
   the five primary elections Dr. Alford cites without evidence to support his contention that
   Black and Latino voters are not cohesive.

6. The 2020 general election for CD33 thus provides uniquely probative information about Black
   and Latino cohesion in Tarrant County. Not only is it the election that actually matters for
   determining who will represent the community, but it featured the same candidates who had
   previously twice faced off in primary elections, along with an additional Hispanic candidate,
   Vasquez. What’s more, the general is a higher turnout election in which the actual preferences
   of the broader voting community can be tested. And the results show that Black and Latino
   voters–by a large margin–cohesively support Congressman Veasey over the two Hispanic
   opponents.

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7. Table 1: Veasey vs. Vasquez vs. Quintanilla 2020 general
   Ecological regression results - Tarrant precincts only (n=137)

                    Veasey        Vasquez      Quintanilla
   Latino vote      69.17          21.74          6.59
   Black vote       98.11           0.58          1.31
   Anglo vote       22.28          70.79          4.43

   Homogenous precincts – top 40 precincts that are 70% or more Latino
   Average Veasey vote: 65.21

   Homogenous precincts – top 21 precincts that are 50% or more Black
   Average Veasey vote: 86.69

8. In Tarrant County, Congressman Veasey received 55,929 votes while Mr. Quintanilla received
   2,332 votes in the 2020 general election. By contrast, in the lower turnout 2018 Democratic
   primary, Congressman Veasey received 9,270 votes to Mr. Quintanilla’s 2,095 votes in Tarrant
   County. Thus, when the fuller electorate participated and expressed their preferences,
   Congressman Veasey’s vote total in Tarrant County increased by over 46,000, while Mr.
   Quintanilla’s increased by only about 200. Dr. Alford completely ignores this probative
   scenario–in which the same Black and Hispanic candidates appear in both primary elections
   and general elections.

9. Moreover, he also ignores data showing cohesion in the primary in Tarrant County. In the 2018
   Democratic primary, for example, Congressman Veasey was the candidate of choice of both
   Hispanic and Black voters.

10. Table 2: Veasey vs. Quintanilla 2018 primary
    Ecological regression results - Tarrant precincts only (n=131)

                  Veasey       Quintanilla
   Latino vote    56.39           43.61
   Black vote     99.45            0.55
   Anglo vote      74.47           25.53

   Homogenous precincts – top 40 precincts that are 70% or more Latino
   Average Veasey vote: 61.46

   Homogenous precincts – top 21 precincts that are 50% or more Black
   Average Veasey vote: 91.06

11. The fact that Congressman Veasey’s Latino vote share increases from 56.39% to 69.17%
    against the same Latino candidate in the 2018 primary and the 2020 general election illustrates
    the flaw with Dr. Alford’s singular focus on low turnout primaries to ascertain Black and
    Latino voting preferences in Tarrant County.




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12. Finally, I have reviewed Exhibits 49 and 50 which purports to be an ecological inference (EI)
    analysis run by the Attorney Generals office for various election 2012 to 2020. However, there
    is no supporting document to assess the accuracy or validity of the EI tables, nor was any
    underlying data provided to allow me to replicate and verify the analysis. Further, there is no
    description of what software was used, which specific EI models were employed and what
    parameters were set in the analysis. Dr. Alford did not provide the necessary methodological
    information or details which are customary in expert reports.

13. I will provide additional data and analysis of population statistics and election results on areas
    of the Senate maps in and around the Dallas/Fort Worth area as requested by the Court and
    counsel.

14. I declare under penalty of perjury that the foregoing is true to the best of my knowledge.




January 19, 2022                           ________________________________

                                           Matt A. Barreto

                                           Agoura Hills, California




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